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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                          §
                Plaintiff,                         §
v.                                                 §    CIVIL ACTION NO. ____
                                                   §
$662,632.00 SEIZED FROM WELLS                      §
    FARGO BANK ACCOUNT 5342,                       §
$21,647.12 SEIZED FROM WELLS                       §
    FARGO BANK ACCOUNT 9596,                       §
$500,000.00 SEIZED FROM JP MORGAN                  §
    CHASE BANK ACCOUNT 7085,                       §
$252,845.11 SEIZED FROM JP MORGAN                  §
    CHASE BANK ACCOUNT 8897,                       §
$75,431.71 SEIZED FROM JP MORGAN                   §
    CHASE BANK ACCOUNT 1855,                       §
$800,000.00 SEIZED FROM CAPITAL                    §
    ONE BANK ACCOUNT 3462,                         §
$21,135.64 SEIZED FROM JP MORGAN                   §
    CHASE BANK ACCOUNT 0917, and                   §
$5,479.16 SEIZED FROM JP MORGAN                    §
    CHASE BANK ACCOUNT 5234,                       §
                   Defendants in Rem.              §

                  VERIFIED COMPLAINT FOR FORFEITURE IN REM

   The United States of America files this action for forfeiture in rem and alleges upon

information and belief:

                                    NATURE OF ACTION

     1.    This is a civil action in rem brought by the United States to forfeit and condemn to the

use and benefit of the United States $662,632.00, $21,647.12, $500,000.00, $252,845.11,

$75,431.71, $800,000.00, $21,135.64 and $5,479.16 in U.S. Currency seized from various bank

accounts (collectively, the “Defendant Properties”) which constitute or are derived from proceeds

traceable to wire fraud.
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                                  JURISDICTION AND VENUE

     2.    This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1345 and over an

action for forfeiture under 28 U.S.C. § 1355(a).

     3.    This Court has in rem jurisdiction over the Defendant Properties pursuant to 28 U.S.C.

§§ 1355(b)(1)(A), because acts and omissions giving rise to the forfeiture occurred in the Southern

District of Texas.

     4.    Venue lies in the Southern District of Texas pursuant to 28 U.S.C. §§ 1355(b)(1)(A),

1391(b)(2), and 1395(a) in that the acts and omissions giving rise to the forfeiture occurred in this

district and the victim resides in Palacios, Texas.

                     DEFENDANT PROPERTIES SUBJECT TO FORFEITURE

     5.    Defendants Properties consist of the following:

               (a)      Defendant Property #1 is $662,632.00 seized from a Wells
                        Fargo account, with an account number ending in x5342, and
                        held in the name of Nana Kofi Okyere.

               (b)      Defendant Property #2 is $21,647.12 seized from a Wells
                        Fargo account, with an account number ending in x9596, and
                        held in the name of NKO Inve Comp LLC.

               (c)      Defendant Property #3 is $500,000.00 seized from a JP
                        Morgan Chase account, with an account number ending in
                        x7085, and held in the name of NKO Inve Comp LLC.

               (d)      Defendant Property #4 is $252,845.11 seized from a JP
                        Morgan Chase account, with an account number ending in
                        x8897, and held in the name of Hills Morten LLC.

               (e)      Defendant Property #5 is $75,431.71 seized from a JP
                        Morgan Chase account, with an account number ending in
                        x1855, and held in the name of The New Grace Restaurant
                        LTD.

               (f)      Defendant Property #6 is $800,000.00 seized from a Capital
                        One account, with an account number ending in x3462, and
                        held in the name of NKO Inve Co. LLC.



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               (g)    Defendant Property #7 is $21,135.64 seized from a JP
                      Morgan Chase account, with an account number ending in
                      x0917, and held in the name of NKO Inve Comp LLC.

               (h)    Defendant Property #8 is $5,479.16 seized from a JP Morgan
                      Chase account, with an account number ending in x5234,
                      and held in the name of Nana Kofi Okyere.


                           STATUTORY BASIS FOR FORFEITURE

     6.    This civil action in rem is brought to enforce the provisions of 18 U.S.C.

§ 981(a)(1)(C), which provides for the forfeiture of any property, real or personal, which

constitutes or is derived from proceeds traceable to any offense constituting “specified unlawful

activity” (as defined in 18 U.S.C. § 1956(c)(7)), or a conspiracy to commit such offense. Title 18

U.S.C. § 1343 (wire fraud) is “specified unlawful activity” pursuant to 18 U.S.C. § 1956(c)(7). A

conspiracy to commit wire fraud is a violation of 18 U.S.C. § 1349.

     7.    With regard to the civil forfeiture of fungible property, Title 18 U.S.C. § 984(a)(1) and

(2) provides that funds in an account in a financial institution that are found in the same account

as the property involved in the offense that is the basis for the forfeiture shall be subject to

forfeiture so long as the forfeiture action is commenced within one year from the date of the

offense.

                                       FACTUAL BASIS

     8.    A romance scam is a common online fraud scheme. The perpetrator of the fraud

(“fraudster”) adopts a fake online identity and uses electronic messages, sent via email or social

media services, to gain a victim’s affection and trust. The fraudster then uses the illusion of a

romantic or close relationship to manipulate and/or steal from the victim. The victim usually has

never met fraudster in person.




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Victimization of W.B.

     9.    An individual with the initials W.B. lives in Palacios, Texas, which is within the

Southern District of Texas. Several years ago, W.B. met an individual online who goes by the

name “Divina” and purports to live in Ghana. W.B. and “Divina” talk to each other over email,

Skype, and text message. W.B. has never met “Divina” in person.

    10.    W.B. and “Divina” began a romantic relationship in early 2020. “Divina” told W.B.

she had two children, a daughter named “Harley” and a son named “Godfred.” W.B. agreed to

adopt “Harley.” “Divina” discussed with W.B. over email the process by which W.B. would adopt

her children.

    11.    Over email, “Divina” introduced W.B. to an individual who goes by the name “Andy

Harris” and claims to be a lawyer located in London. Between approximately March 2020 and

June 2020, W.B. corresponded with “Andy Harris” through email and text messages. “Andy

Harris” agreed to help get “Divina” and “Harley” to the United States if W.B. sent money as “Andy

Harris” directed. As further inducement for W.B. to send money, “Andy Harris” told W.B. that

“Divina” had a family inheritance of 50 gold bars and that she would bring the inheritance with

her to the United States. W.B. has never met “Andy Harris” in person.

    12.    Based on these representations, W.B. purchased six cashier’s checks in April and May

2020 with a combined face value of $3,050,000. The cashier’s checks were made payable to

persons and businesses that “Andy Harris” designated, in amounts that “Andy Harris” specified,

and mailed to addresses that “Andy Harris” provided. As explained in more detail below, the six

cashier’s checks were deposited into six different bank accounts at Wells Fargo Bank, JP Morgan

Chase Bank, and Capital One Bank.

    13.    Additionally, on or about May 1, 2020, W.B. sent two wires totaling $495,000 to a

seventh bank account at JP Morgan Chase Bank, as requested by “Andy Harris”.

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    14.   Each of the bank accounts which received W.B.’s funds was owned and controlled by

one of three individuals: Nana Okyere, Charles Frimpong, or Abigail Asare. No account was in

the name of “Andy Harris” or appeared to be the name of a law firm.

Connection to Defendant Property

    15.   Funds from the six cashier’s checks purchased by W.B. pursuant to the romance scam

were deposited into and/or transferred into bank accounts from which Defendant Properties #1

through #6 were seized:

  Cashier’s Check(s)                  Deposit(s) &                        Seizure(s)
                               Subsequent Banking Activity

 #2468988 ($50,000)       4/17/20:     Cashier’s check            Defendant Property #1:
                                       #2468988 ($50,000)         $662,632 seized from WF
 #2469015 ($700,000)                   deposited into Wells       Acct. x5342
                                       Fargo (WF) Acct. x5342
                                                                  Defendant Property #2:
                          5/29/20:     Cashier’s check            $21,647.12 seized from
                                       #2469015 ($700,000)        WF Acct. x9596
                                       deposited into WF Acct
                                       x5010

                          5/29/20:     $700,000 in transfers
                                       from WF Acct x5010 to
                                       WF Acct x9596

                          5/29/20:     $15,000 transferred from
                                       WF Acct. x5342 to WF
                                       Acct. x9596

                          5/29/20:     $700,000 in transfers
                                       from WF Acct x9596 to
                                       WF Acct. x5342

 #2469008 ($500,000)      5/6/20:      Cashier’s check            Defendant Property #3:
                                       #2469008 ($500,000)        $500,000 seized from
                                       deposited into JP          JPMC Acct. x7085
                                       Morgan Chase (JPMC)
                                       Acct. x7085




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  Cashier’s Check(s)                 Deposit(s) &                             Seizure(s)
                              Subsequent Banking Activity

 #2469009 ($500,000)     5/5/20:         Cashier’s check          Defendant Property #4:
                                         #2469009 ($500,000)      $252,845.11 seized from
                                         deposited into JPMC      JPMC Acct. x8897
                                         Acct. x8897

 #2469010 ($500,000)     5/5/20:         Cashier’s check          Defendant Property #5:
                                         #2469010 ($500,000)      $75,431.71 seized from
                                         deposited into JPMC      JPMC Acct x1855
                                         Acct. x1855

 #2469016 ($800,000)     10/8/20:        Cashier’s check 2469016 Defendant Property #6:
                                         ($800,000) deposited into $800,000 seized from
                                         Capital One Acct. x3462 Capital One Acct. x3462



    16.     Funds from the two wire transfers authorized by W.B. pursuant to the romance scam

were received into and/or transferred into the following bank accounts from which Defendant

Properties #7 through #8 were seized:

                Wire Transfers &                                   Seizures
           Subsequent Banking Activity

 4/30/20        $96,000 wire transfer from       Defendant Property #7: $21,135.64 seized
                W.B. bank account to JPMC        from JPMC Acct. x0917
                Acct. x0917
                                                 Defendant Property #8: $5,479.16 seized from
 5/1/20:        $399,000 wire transfer from      JPMC Acct. x5234
                W.B. bank account to JPMC
                Acct. x0917

 5/1/20:        $47,460 in transfers from
                JPMC Acct. x0917 to JPMC
                Acct. x5234

 5/4/20:        $150,000 in transfers from
                JPMC Acct. x0917 to JPMC
                Acct. x5234




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    17.      The seized funds from Defendant Properties #1 through #8 total $2,339,170.74 of the

$3,545,000 obtained by the fraudsters from W.B. pursuant to the romance scam.

Summary

    18.      As a result of misrepresentations made by “Divina” and “Andy Harris” pursuant to the

romance scam designed to defraud the victim, W.B. sent the fraudsters a total of $3,545,000.

Between April 2020 and October 2020, these funds were deposited into, received into, and/or

transferred into Wells Fargo accounts x5342 and x9596, as well as JP Morgan Chase accounts

x8897, x1855, x7085, x0917 and x5234 and Capital One account x3462.

    19.      Consistent with the pattern of activities in online fraud scheme, within days of the

victim’s funds being received into the fraudsters’ accounts, the fraudsters wired or attempted to

wire hundreds of thousands of the victim’s funds to overseas accounts in Ghana, Hong Kong, and

China, to accounts in the names of yet other entities.

                          NOTICE TO ANY POTENTIAL CLAIMANT

          YOU ARE HEREBY NOTIFIED that if you assert an interest in any of the Defendant

Properties which are subject to forfeiture and want to contest the forfeiture, you must file a verified

claim which fulfills the requirements set forth in Rule G of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions.

          A verified claim must be filed no later than thirty-five (35) days from the date this

Complaint has been sent to you in accordance with Rule G(4)(b); or, if this Complaint was not

sent to you, no later than 60 days after the first day of publication of notice on an official internet

government forfeiture site, in accordance with Rule G(5)(a)(ii)(B).

          An answer or motion under Rule 12 of the Federal Rules of Civil Procedure must be filed

no later than twenty-one (21) days after filing the claim. The claim and answer must be filed with

the United States District Clerk for the Southern District of Texas at United States Courthouse,
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515 Rusk Avenue, Houston, Texas 77002, and a copy must be served upon the undersigned

Assistant United States Attorney at United States Attorney’s Office, 1000 Louisiana, Suite 2300,

Houston, Texas 77002.

       The United States will serve notice, along with a copy of the Complaint, on the titled

property owners and on any other persons who reasonably appear to be potential claimants.

                                     REQUESTED RELIEF

   Wherefore, the United States seeks a final judgment forfeiting the Defendant Properties to the

United States and requests any other relief to which the United States may be entitled.

                                                     Respectfully submitted,

                                                     RYAN K. PATRICK
                                                     United States Attorney

                                             By:     /s/ Stephanie Bauman
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